DISMISS; and Opinion Filed August 16, 2016.




                                         S   In The
                               Court of Appeals
                        Fifth District of Texas at Dallas
                                      No. 05-15-01296-CV

                            NICHOLAS COPELAND, Appellant
                                         V.
                             YVONNE R. INGRAM, Appellee

                       On Appeal from the County Court at Law No. 3
                                   Dallas County, Texas
                           Trial Court Cause No. CC-15-04370-C

                             MEMORANDUM OPINION
                         Before Justices Francis, Fillmore, and Schenck
                                  Opinion by Justice Schenck
       Appellant’s brief in this case is overdue. By order dated May 18, 2016, we ordered the

appeal submitted without a reporter’s record and directed appellant to file his brief by June 17,

2016. By postcard dated June 20, 2016, we notified appellant the time for filing his brief had

expired. We directed appellant to file both his brief and an extension motion within ten days. We

cautioned appellant that failure to file his brief and an extension motion would result in the

dismissal of this appeal without further notice. To date, appellant has not filed his brief, an

extension motion, or otherwise corresponded with the Court regarding the status of his brief.
      Accordingly, we dismiss this appeal. See TEX. R. APP. P. 38.8(a)(1); 42.3(b), (c).




                                                    /David J. Schenck/
                                                    DAVID J. SCHENCK
                                                    JUSTICE



151296F.P05




                                              –2–
                                       S
                              Court of Appeals
                       Fifth District of Texas at Dallas
                                      JUDGMENT

NICHOLAS COPELAND, Appellant                       On Appeal from the County Court at Law
                                                   No. 3, Dallas County, Texas
No. 05-15-01296-CV        V.                       Trial Court Cause No. CC-15-04370-C.
                                                   Opinion delivered by Justice Schenck.
YVONNE R. INGRAM, Appellee                         Justices Francis and Fillmore participating.

       In accordance with this Court’s opinion of this date, this appeal is DISMISSED.

       It is ORDERED that appellee YVONNE R. INGRAM recover her costs of this appeal
from appellant NICHOLAS COPELAND.


Judgment entered this 16th day of August, 2016.




                                             –3–
